                  UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF ILLINOIS
                        EASTERN DIVISION

UNITED STATES OF AMERICA,       )
                                )
         Plaintiff,             )
                                )   Case No. 22-CR-00115
    v.                          )
                                )   Honorable John Robert Blakey
MICHAEL J. MADIGAN,             )
                                )
         Defendant.             )
                                )

 DEFENDANT MICHAEL J. MADIGAN’S SENTENCING MEMORANDUM




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       Defendant Michael J. Madigan, by his undersigned attorney, respectfully

submits that a sentence of five years’ probation (with a condition of one year home

detention), an order to perform community service, and a reasonable fine is a

sufficient, but not greater than necessary punishment that serves the factors outlined

in 18 U.S.C. § 3553(a). In support, the Defendant states as follows:

 I.     INTRODUCTION

       Mike Madigan is a remarkable husband, father, friend, and public servant.

 Throughout his 83-year life, Mike quite literally changed the lives of tens of

 thousands of people in his district on the south side of Chicago. He positively

 impacted millions of people throughout the State of Illinois. The more than 200

 letters submitted on Mike’s behalf demonstrate that this is not hyperbole.1 He has

 been a singularly helpful and devoted public servant who is widely respected for his

 honesty and integrity. His outlook has always been, and remains today, that he has

 a responsibility, not only as an elected official but as a person, to do whatever he can

 to help others. This includes people in his personal life. It includes people in his



1 Exhibit A includes a subset of letters cited throughout Defendant Madigan’s Sentencing

Memorandum. Exhibit B includes letters from family (Family Letters). Exhibit C includes
letters from individuals with a primarily personal relationship with Mike (Personal Letters).
Exhibit D includes letters from religious leaders who have a relationship with Mike
(Religious Letters). Exhibit E includes letters from employees who worked with Mike (Staff
Letters). Exhibit F includes letters from individuals who interacted with Mike related to
policy or other public interest related actions (Public Interest Letters). Exhibit G includes
letters from residents of the 13th Ward (13th Ward Resident Letters). Exhibit H includes
letters from individuals who helped with political work for the 13th Ward or other local
politicians (Local Political Letters). Exhibit I includes letters from elected officials who had a
relationship with Mike (Elected Official Letters). The letters included in Exhibit A are also
included in the relevant category PDF. While counsel has employed best efforts to organize
the letters for ease of review, as with life, sometimes the letter writers fall within multiple
categories.


                                                1
 legislative district and people in the 13th Ward. But it also includes people who

 approach him while he is at dinner to ask for help, or when he’s in an elevator or

 walking down the street in downtown Chicago.

       The letters submitted on his behalf only scratch the surface of the good deeds

 Mike has done throughout his life, without asking for anything in return. Letter

 after letter expresses how Mike improved people’s lives. Many letters were

 unsolicited. People wanted to support Mike, just like he was there to lend a hand to

 countless people throughout his life. Many letter writers share a similar sentiment

 to the following, which puts it best, “I humbly ask that you consider the full picture

 of his life—who he is at his core, the quiet strength he has shown time and again,

 and the profound impact he’s had on those fortunate enough to know him. His legacy

 is one of compassion and unwavering presence. And to me—and to my family—he

 has been nothing short of exceptional.” (Ex. A, p. 3, Letter from E.A.)

 II.    A SENTENCE BELOW THE ADVISORY GUIDELINE RANGE WILL
        SERVE THE FACTORS OUTLINED IN 18 U.S.C. § 3553(A)

       The goal of sentencing is to fashion a sentence that is “sufficient, but not

greater than necessary,” to promote the goals established and codified by Congress.

18 U.S.C. § 3553(a). The guidelines are advisory, and a court may sentence outside

the guideline range as long as all of the § 3553(a) factors are considered. Indeed, it is

the district court’s duty to “make its own reasonable application of the § 3553(a)

factors, and to reject (after due consideration of) the advice of the Guidelines” if the

result they suggest does not comport with the sentencing court’s view of an




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appropriate sentence. Kimbrough v. United States, 552 U.S. 85, 113 (2007) (Scalia,

J., concurring).

      The Supreme Court has emphasized that sentencing courts should impose a

punishment that “fit[s] the offender and not merely the crime.” Pepper v. United

States, 131 S. Ct. 1229, 1240 (2011). Moreover, the Supreme Court has rejected

outright the notion that “extraordinary” circumstances must exist to justify a

sentence outside the advisory Guideline range, including cases in which courts depart

significantly from advisory guideline ranges to impose a non-custodial sentence. Gall

v. United States, 552 U.S. 38, 47 (2007) (finding district court’s departure from

advisory guideline range of 30-37 months to impose sentence of probation was not an

abuse of discretion).

      To determine a sentence that is sufficient, but not greater than necessary to

fulfill the purposes of sentencing, § 3553 directs consideration of several factors. 18

U.S.C. § 3553(a); see United States v. Johnson, 471 F.3d 764, 766 (7th Cir. 2006) (“the

statute does not weigh the factors . . . that is left to the sentencing judge, within the

bounds of reason, which are wide.”). The Defendant respectfully submits that

consideration of these factors demonstrates that a sentence of five years’ probation

(with a condition of one year home detention), an order to perform community service,

and a reasonable fine, is sufficient to promote the goals of sentencing.

       A.     History and Characteristics of the Defendant

      Mike’s extraordinary personal and professional acts of generosity and genuine

care for others in their most vulnerable moments support a non-custodial sentence.




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“[I]f ever a man is to receive credit for the good he has done. . . it should be at the

moment of his sentencing, when his very future hangs in the balance. This

elementary principle of weighing the good with the bad, which is basic to all the great

religions, moral philosophies, and systems of justice, was plainly part of what

Congress had in mind when it directed courts to consider, as a necessary sentencing

factor, ‘the history and characteristics of the defendant.’” United States v. Adelson,

441 F. Supp. 2d 506, 512–15 (S.D.N.Y. 2006) (sentencing defendant to three-and-a-

half years of prison where the guidelines recommended a life sentence).

      Courts have long recognized that a defendant’s acts of charity that had “a

dramatic and positive impact on the lives of others” are a basis for imposing a below-

Guidelines sentence under 18 U.S.C. § 3553(a). See e.g., United States v. Cooper, 394

F.3d 172, 177-78 (3d Cir. 2005) (affirming below-Guidelines sentence of probation and

six months’ house arrest where defendant’s acts of charity were “hands-on” efforts

that had “a dramatic and positive impact on the lives of others.”); United States v.

Prosperi, 686 F.3d 32, 34, 40, 50 (1st Cir. 2012) (affirming the district court’s seven-

year downward variance in sentencing defendant to six months’ home confinement in

$5 million fraud case based on defendant’s charitable works and care for family);

United States v. Serafini, 233 F.3d 758, 711-75 (3d Cir. 2000) (affirming state

legislator’s sentence of five months’ imprisonment and five months’ home

confinement, finding his civic and charitable contributions were exceptional and

“above and beyond customary political or charitable giving.”).2


2 United States v. Tomko, 562 F.3d 558, 571–75 (3d Cir. 2009) (affirming sentence of home

confinement on the basis of several dozen letters demonstrating pre-indictment charitable


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         1. Personal Background

       Michael Joseph Madigan was born on April 19, 1942 to Michael and Mary

Madigan. He grew up in a tight-knit community on Chicago’ southwest side―the

same neighborhood where he has chosen to spend his entire life. He has one sister,

Marita. Growing up, Mike’s father was very dominating. As with the times, the word

nurturing did not exist in his household. His father also had a quick temper and

would raise his voice and yell. This is not to suggest Mike had an abusive childhood―it

simply provides background for who he is. Mike learned to avoid confrontation, a skill

that would prove extremely useful for a long career in politics. As many people

recognized in the letters written on his behalf, Mike is generally a quiet man, even to

the point that he is not good at small talk. (Ex. A, p. 5, Letter from T.F.: “Mike is

quiet, thoughtful, a born observer, and no good at small talk.”) After his father died

when he was a young man, Mike moved in with his mother to care for her. In 1976,

Mike married Shirley and moved into a home nearby―the same house they live in

today. Together, they raised four children: Lisa, Tiffany, Nicole and Andrew, and now

cherish four grandchildren: Rebecca, Lucy, Eliza, and Ted. Mike’s love for his family

is paramount. (Ex. A, p. 7-23, Letters from L.M., T.M., N.M., A.M.)

       When his children were young and Mike had to be in Springfield for work, he

called them at least once a day, if not more. He ordered a second set of schoolbooks

that he read so he could help them study for any test or assignment. Mike is even


acts that involved not only money but “personal time” by the defendant); United States v.
Warner, 792 F.3d 847, 850 (7th Cir. 2015) (affirming sentence of probation in $5.6 million tax
evasion case where district court found the defendant’s unprecedented charitable works and
generosity were genuine and “went further than simply donating.”).


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closer to his children today, ensuring that he has dinner with them at least once a

week. He is also very close with his grandchildren. When Rebecca and Lucy were

young, they would stay with Mike and Shirley often. Now, Mike helps Eliza and Ted

with their schoolwork in the same way he helped his own children. This assistance is

particularly important to his daughter, a single mother who works full-time in a

demanding job. Mike anchors their lives, offering unwavering support and serving as

a steady father figure they can always count on.

      Mike graduated from St. Ignatius High School in 1960, and the University of

Notre Dame in 1964. He went on to graduate from Loyola Law School in 1967. When

Mike was young, he worked city jobs, starting on dirt trucks and garbage trucks and

later a Law Department attorney. He was elected 13th Ward Committeeman in 1969

and served as a delegate to the 1970 Illinois constitutional convention. In 1970, Mike

was elected to represent the 22nd District in the Illinois House of Representatives for

the first time. He went on to be elected to this position every two years for the next

50 years. Mike was elected by his fellow Democrats to serve as Speaker―the leader

of the Democratic caucus―for the first time in 1983. Every two years until 2021, the

Democratic caucus re-elected him to serve as their leader.

      In the early 1970’s, Mike began practicing law with his law school friend and

classmate, Vincent “Bud” Getzendanner, ultimately founding the firm Madigan &

Getzendanner in 1976. The partners operated the law firm for the next 50 years on a

handshake agreement. Madigan & Getzendanner has always been a small firm,

consistently employing approximately five or six lawyers, along with a few paralegals




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and administrative staff. Initially, Madigan & Getzendanner had a general law

practice, taking whatever came in the door. Over time, the firm began specializing in

property tax appeals. Madigan & Getzendanner became widely respected as one of

the premier property tax appeal firms in Cook County.

      Mike’s motivating force in each of these roles was to help as many people as

possible. Mike is not infallible. He has faults like any other person. He is widely

recognized as the hardest worker most people have ever met, but sometimes to a fault.

He also wants to be helpful to anyone who asks for his help. Again, sometimes this

was a fault as he did not know how to tell people no, that he could not try to help,

even when he was extremely busy with family, his role as Speaker, and his law office.

      The letters written on his behalf show that his desire to help was not fueled by

seeking power or personal gain. Instead, his Catholic values—instilled during his

formative years at St. Ignatius, Notre Dame, and Loyola—drove every decision. These

institutions taught him an unshakeable duty to serve others, to pursue the common

good, and to champion the poor and vulnerable above all else. With these values as

his guide, he directly improved the lives of tens of thousands of people and helped

improve services for, and the rights of, millions of Illinois citizens.

         2. Mike is known as an incredibly kind and thoughtful person.

      Throughout his life, Mike was incredibly kind and thoughtful to those who

have interacted with him, whether the interaction was for five minutes or over fifty

years. While it is impossible to capture in a court filing all the moments Mike has




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imparted his kindness and thoughtfulness on others, the following examples from the

letters provide a glimpse into his character.

      Jack Hynes, who considers Mike a second father, shared how Mike and his

family were there for Mr. Hynes’s family almost daily after his father passed away

when Jack was 13. (Ex. A, p. 24, Letter from J.H.) From then on, the Madigan’s were

like extended family. Mr. Hynes shared that he learned core life values from Mike,

about being a good father, a good husband, and a hard worker. Lily Hynes, Mr.

Hynes’s daughter who considers Mike a grandfather, wrote about his kindness when

he came to her maternal grandfather’s wake even though he did not know him: “[H]e

showed up because there were people[] he cared about that were struggling, and he

wanted to be there for those people. While I may not be the wisest person, I do know

that going tremendously out of your way to make sure people feel loved when they

need it defines a good person. That is what defines Mike Madigan.” (Ex. A, p. 27,

Letter from L.H.)

      Rhoda Pierce, former executive director of the Illinois Arts Council, shared a

similar experience. After her parents and later her husband passed, the Madigan

family extended phone calls and notes just to check in as well as care packages of food

and flowers and invitations to spend evenings with them. As Ms. Pierce shared,

“[t]hat thoughtfulness and compassion meant the world to me and in my opinion

defines who Michael is.” (Ex. A, p. 29, Letter from R.P.) Ms. Pierce also shared that

these qualities are “most evident in the care he provides for his wife Shirley, who is

82 years old, in poor health and very dependent on him.” (Id.)




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      Those who worked with Mike also witnessed his kindness over the years. Craig

Willert, former Director of the House Issues Staff, shared that he “will never forget

how kind and gentle and supportive Mike was to me during the darkest period of my

life.” (Ex. A, p. 31, Letter from J.B.) April Burgos, Mike’s assistant at the 13th Ward

Office, also wrote: “I have gotten to know Mike over the years and he is a kind and

compassionate individual. I would not be the person I am today if it were not for this

man.” (Ex. A, p. 33, Letter from A.B.) Mary Morrisey shared how she and her family

felt the warmth and support of the Madigan’s during difficult times, especially after

tragically losing her sister. But they were not the only family who felt this support:

“[h]undreds, perhaps thousands, of families across the state were touched by Mike’s

kindness at the most difficult times in their lives.” (Ex. A, p. 36, Letter from M.M.)

         3. Over the 83 years of his life, Mike has selflessly changed the lives
            of millions of people throughout the State of Illinois.

      Mike’s positive impact on others has been nothing short of exceptional. He did

not just donate to causes over the years. Instead, he spent his life making his

community, the City of Chicago, and the State of Illinois a fundamentally better place

to live, work, and thrive. He has done this through his support of broad policy that

protects the poor, working families, children and those who simply want to be able to

love who they love. Mike also impacted countless individuals through help given on

a one-on-one basis. A few examples from the letters wrote on Mike’s behalf are

illustrative of his impact on others throughout his life.




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                a. Mike helped advance policies that positively impacted
                   millions of Illinoisians.

      Mike was a devoted public servant who worked tirelessly to advance policies

that helped the most vulnerable citizens of our state. As Michael Sacks, who got to

know Mike well through his work on the state budget, wrote: “Throughout my work

on the budget, I saw Speaker Madigan’s unwavering commitment to protecting social

services and defending the rights of working men and women. He fought passionately

against efforts to cut support for the poor and vulnerable… His values were clear,

and his leadership undoubtedly protected millions of Illinoisans.” (Ex. A, p. 39-40,

Letter from M.S.)

      Tom Balanoff, former President of SEIU Local 1, explained several pieces of

legislation that supported workers. As one example, Mike “played a crucial role in

helping [the] union pass legislation establishing employment standards for Home

Healthcare workers and Home Child Care workers.” (Ex. A, p. 40, Letter from T.B.)

As a result of this legislation, “[t]he lives of over 90,000 workers have changed

dramatically.” (Id.)

      Fred Eychaner, who knew Mike professionally and personally for decades, also

wrote to support him, noting that “Few public servants have shaped the course of

Illinois policy and progress as extensively as Mike Madigan.” (Ex. A, p. 42, Letter

from F.E.) Mr. Eychaner shared how Mike’s help was critical in advancing legislation

establishing marriage equality in Illinois: “While our movement was broad and

determined and made up of LGBTQ individuals, allies, and advocacy organizations

fighting for non-discrimination and, ultimately, marriage equality, I firmly believe it



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was Speaker Madigan’s courage and quiet commitment that made those victories

possible. Under his leadership, Illinois became one of the first states in the nation to

pass marriage equality through the legislature—not by court mandate, but by

democratic vote.” (Id. at 42-43) Former Majority Leader Greg Harris also wrote to

share the history of the fight for marriage equality in Illinois and Mike’s efforts to

ensure the measure moved forward. (Ex. A, p. 44-45, Letter from G.H.) In fact, at the

time the bill passed, Mike asked Will Cousineau to document Mike’s efforts in a

memo. (DX 7066)

      Former Cook County State’s Attorney Richard Devine, who has known Mike

for several decades, discussed Mike’s help on criminal justice matters in the

legislature. Mr. Devine noted, “Mike Madigan was a thoughtful and dedicated

legislative leader who was focused on doing what was best for ou[r] community. We

did not always agree, but any differences were based on substance and not on

personal considerations. When he was supportive, you could go to the bank with it,

knowing he would always keep his word. In my many years in government, that is a

quality not known in abundance.” (Ex. A, p. 48, Letter from R.D.)

      Patrick Hickey, who served as the director of development at Leo High School

in the 1990’s, shared a story about Mike reaching out to the President of the school

after Mike read about the school’s funding challenges. Mike wanted to help. When

the President asked Mike why he wanted to help, Mike said, “he felt Leo was a strong

anchor in the community and even though it was not in his district he felt it made

Chicago stronger, safer and more stable.” (Ex. A, p. 49, Letter from P.H.) From Mr.




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Hickey’s perspective, Mike “reached out to help a community in need for the sole

purpose of strengthening a community and giving young men a fair shot at a great

education and the life opportunities that come with that education.” (Id.)

      Barbara Giorgi Vella, Mike’s friend and State Representative Zeke Giorgi’s

daughter, shared how Mike helped keep her father’s memory alive by not only

donating to a scholarship fund at NIU College of Law but by establishing the Zeke

Giorgi Legal Clinic which is housed in Rockford. (Ex. A, p. 52, Letter from B.V.) It

opened in 2001 and is still operating today. Since it opened, the Clinic has served,

free of charge, approximately 5,506 people, who would otherwise not have access to

representation. (Id.) As Ms. Vella wrote, “Without Mike’s support and guidance, this

Clinic would not have been available to our community.” (Id.)

      Mike’s generosity did not only extend to fellow democrats. At least ten

Republicans stepped forward to write letters documenting moments when Mike

offered help and generosity, proving that his dedication to helping others knew no

partisan limits. Take Jim Watson, a former House Republican member, who

experienced Mike’s character firsthand. When Mr. Watson returned to military

service in 2007, Mike didn’t see a political opponent—he saw someone who needed

support. (Ex. A, p. 53, Letter from J.W.) Without hesitation, Mike offered campaign

assistance to a man from the opposing party. Andy Van Meter shared his experience

with Mike when Springfield faced a railroad proposal that threatened their

community. (Ex. A, p. 55, Letter from A.V.) Mike didn’t calculate political advantage

or party loyalty. As Mr. Van Meter saw it: “He simply did the right thing for a




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community that wasn’t his responsibility even if it meant opposing every state and

federal official in his own Democratic party. I know of no better example of integrity.”

(Id. at 56.)

                b. Mike directly helped countless people who sought his help.

       Mike also had an individual impact on countless people. As Jessica Basham,

Mike’s former Chief of Staff, wrote in her letter on his behalf: “please consider the

life-changing positive impact that the Speaker has had not only on me, but countless

others that he has impacted in his life of service.” (Ex. A, p. 58, Letter from J.B.) Mary

Morrissey, a former Special Assistant to the Speaker, shared that she “had the

privilege to closely observe Mike’s kindness and dedication to his constituents and

people of the State of Illinois. I remember clearly him giving me a copy of a napkin

with a name and number on it from someone who stopped him at the grocery store

asking him to help them with a family member. He would ask me to call them and

work on resolving their issue. And he would carry around a copy of the request in a

folder, back and forth to Springfield, until the matter was resolved. Hundreds,

perhaps thousands, of families across the state were touched by Mike’s kindness at

the most difficult times in their lives.” (Ex. A, p. 36, Letter from M.M.) Father Michael

Garanzini, who has known Mike personally and professionally for decades, noted:

“Mike was always generous with his time and talent. Doing good things for others,




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that is what we are supposed to do.” (Ex. A, p. 60, Letter from M.G.) That is what

Mike did.

      Elliot Miller’s unsolicited letter highlights the extent of Mike's assistance to

others. Mr. Miller shared that his son suffered a traumatic brain injury 12 years ago,

leaving him with a $12,000 bill for a nursing home stay. (Ex. A, p. 61, Letter from

E.M.) The family thought that Medicaid would pay the bill, but it did not. Mr. Miller

wrote Mike a letter, when no one else would help him. (Id.) Two days later, he received

a call from Mike who helped ensure Medicaid paid the bill for his son’s care. (Id.) Mr.

Miller did not work for the 13th Ward or know Mike before sending the letter. (Id.)

They still have never met, but when Mike could help, he did.

      Mike helped with deeply personal requests for help. For example, Maria

Reynoso wrote about her experience when Mike stood up for her when her

immigration status seemed dire: “He willingly went out of his way and wrote a letter

to USCIS to help me obtain my residency. Now, I am willfully writing this because

we know him as a great community man who stands up for us, his community. He

listens and helps out the community as a good public servant should.” (Ex. A, p. 62,

Letter from M.R.) Daniel and Francine Signore also shared their experience with

Mike 30 years ago: “The gift of my daughter, who is a healthy, happily married,

women, would not have happened without the kindness of Michael Madigan.” (Ex. A,

p. 63, Letter from D.S. and F.S.) Mr. and Mrs. Signore were in the process of adopting

their daughter from Korea when they were denied insurance coverage over and over

again. (Id.) They sent several letters out to various public officials seeking help. To




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their surprise, they received a phone call from Mike who “immediately got the

commissioner [for insurance] on the phone and asked him to review [the] situation.”

(Id.) Their daughter received insurance shortly thereafter. Mike called again a few

days later to follow up. (Id.) “This was and is the only contact [they] have ever had

with Michael Madigan other than a Christmas card of his beautiful family.” (Id.)

        David Koehler shared the story of his nephew, Connor Koehler, who

approached Mike while at dinner at Palermo’s one evening. Connor approached Mike

and shared his ambition of attending the Naval Academy. (Ex. A, p. 64, Letter from

D.K.) Mike took down Connor’s number and assured him that he would look into what

he could do to help. (Id.) David shared that it was especially impressive and

meaningful to his family that Mike demonstrated personal attention and follow-

through on Connor’s request for help. (Id.) Connor was accepted into the Naval

Academy in 2015 and was selected for the United States Navy Strike Fighter Tactics

Instructor program, more commonly known as Top Gun, upon graduation. (Id.) David

also shared his thoughts that Mike’s actions “shaped [Connor’s] path to

success―through the Naval Academy, Top Gun, and ultimately, his military service.”3

(Id.)

        Mike’s constituents experienced this same relentless advocacy—from securing

basic city services (Ex. A, p. 65, Letter from J.S.) to finding nursing homes for

residents battling aggressive diseases (Ex. A, p. 66, Letter from B.C. and J.C.). Tom



3 This was not the only time that Mike has helped a young man reach his dream of attending

the Navel Academy. Father Michael Caruso shares another story about a young man who
attended St. Ignatius who Mike helped in a similar way.


                                           15
Ryan, a resident of the 13th Ward and former community representative, shared the

impact Mike had on his life and how he gravitated to Mike for advice after he lost his

own parents. Like countless others, Mr. Ryan discovered that, “He gave me a chance

because he saw something in me, beneath the surface.” (Ex. A, p. 70, Letter from T.R.)

Mike also helped many people address their struggles with alcohol, providing them

support to find their way to a second chance in life. For example, Sharon Crowley

shared that Mike noticed her struggles and offered guidance that she desperately

needed. (Ex. A, p. 72, Letter from S.C.) Mike shared how his own father had battled

similar demons and that gave Ms. Crowley the strength she needed to face her own.

(Id.) Jesse Leone worked for the Speaker’s Staff and thought he would have his

employment terminated because of his drinking problem. (Ex. A, p. 73, Letter from

J.L.) Instead, he was offered assistance and support that he believes saved his life.

(Id.) Then and now, Mike believes in providing second chances to those who struggled.

      Robert Wagner, a resident of the 13th Ward, credits Mike with making his

dream to attend West Point a reality: “Mike was instrumental in guiding me to

achieve my lifelong dreams and without his support in my high school years things

would not be as they are today. He stepped up for me when others did not…” (Ex. A,

p. 74, Letter from R.W.) John Skudnig, another resident of the 13th Ward, goes

further: “To say that Mike saved my life would NOT be an exaggeration…Mike

Madigan is a father figure that I never had.” (Ex. A, p. 75, Letter from J.S.) Mr.

Skudnig shared how Mike helped him get his life on track and become a firefighter

and landlord. (Id.) As Mr. Skudnig wrote: “this is one story I am telling you, but I




                                         16
know about 100 people that have a very similar story. They all say the same thing,

Michael Madigan would always try and help them beyond words.” (Id.)

       Father Michael Caruso, who struck up a meaningful friendship with Mike

during his time as president of St. Ignatius, also shared several significant acts of

service by Mike: donating to St. Ignatius, assisting a young man who wanted to serve

our nation in the Navel Academy, and supporting thousands of disadvantaged

students in getting a better education. (Ex. A, p. 77, Letter from M.C.) According to

Father Caruso, Mike “did so selflessly from the generosity of his heart. His only desire

was that these efforts would benefit the lives of the recipients with absolutely no

expectations.” (Id.) Mike and Shirley funded countless college scholarships for

students who never even learned their benefactors' names. Mike and Shirley never

wanted the recognition, they simply wanted to help. The scope of Mike’s generosity

and his selfless acts of service cannot be overstated.

         4. Mike is widely known as an honest person.

       Those who know Mike well know him as a man of honesty and the highest

integrity. A full summary of the thoughts about his honesty and integrity from over

100 people who have known Mike for decades is attached as Exhibit J. A few

illustrative examples are included below:

   •   Glenn Poshard, a former Illinois state senator and U.S. Congressman from
       southern Illinois, shared a quote from his biography, published years ago:

          o “He never told me an untruth or exaggerated what he could do or
            would do.”




                                          17
   •   Jayne Carr Thompson:

          o “Whether Jim and Mike were collaborating or fiercely opposed, I
            always knew that Mike would be truthful about his position on a bill.
            You could always trust his word.”4

   •   David Bonoma:

          o “He had a well-known reputation in government and professional
            circles as someone whose word would be trusted.”

   •   Rocco Claps:

          o “Mike Madigan has always displayed qualities of honesty, integrity
            and responsibility.”

   •   Sharon Crowley:

          o “I am deeply grateful for his honesty, his time, and the kindness he
            showed when I needed it most. Mike Madigan is and was the Most
            Honest Truthful Man I have ever met in my life.”

   •   Barbara Flynn Currie:

          o “I have only known him to tell the truth.”

   •   Ray Hanania:

          o “I always believed Mike Madigan was fair and truthful when he
            spoke with me. I consider Mike Madigan to be among the most honest
            politicians I have met. I can say with certainty he never lied to me as
            a reporter.”

   •   Reverend Gary McCants:

          o “Throughout my time in Springfield, Representative Madigan was
            unfailingly honest and principled in his interactions with me.”




4 Governor Thompson strongly expressed his opinion regarding Mike’s honesty and integrity

in a draft letter to the editor in 2014: “I have known Mike Madigan very well, both
professionally and personally, for more than 35 years. There is no public servant whose
integrity and personal moral code is stronger than Mike Madigan’s… And while we had our
disagreements, I could always count on Mike to give it to me straight, tell me the truth and
stick to his word. Such qualities aren’t easy to find in the world of politics.” (Exhibit K).


                                             18
   •   Jim McPike:

             o “The finest man I have ever known is Michael J. Madigan…He
               always tells the truth.”

   •   Former Republican Governor Jim Edgar:

             o “I found Mike Madigan to be a person who always kept his word, and
               that is somewhat unusual for people in that world.”

   •   Robert Weisman:

             o “In my dealings with Mike, he has always exemplified integrity and
               honesty.”

   •   Rob Uhe:

             o “During my eight years working closely with Speaker Madigan, I saw
               first-hand his dedication, respect, integrity, and care for doing what’s
               right. He is a very good man.”

       As with his acts of service, the letters written on his behalf only scratch the

surface of people who know Mike to be an honest man who has acted with the utmost

integrity throughout his life. Counsel respectfully submits that, when weighing the

totality of Mike’s 83-year life with the offense conduct in this case, Mike’s lifetime of

good works, genuine care for others, and generosity, as well as his widely recognized

dedication to honesty and integrity, support a non-custodial sentence.

        B.       Nature and Circumstances of the Offense

       Mike challenged the government’s case at trial and, though he maintains his

innocence, he respects the jury’s work. Because the Court is familiar with the nature

and circumstances of the offense, counsel will not repeat every detail again here.

Instead, there are three key areas that are helpful to put the offenses in context of

bribery convictions. First, Mike did not receive any personal benefit. Second, the

government did not dispute that the legislation at issue was good policy and Mike’s


                                           19
staff helped ensure that Illinois consumers were protected. Third, each of the offenses

involved Mike’s intent to help others.

      As to the first point, the evidence at trial showed that Mike did not receive a

penny from ComEd and his law firm similarly did not receive any business. Instead,

the ComEd offenses were based on ComEd hiring people “associated with” Mike. It is

undisputed that the payments to these people were never funneled back to him in

any way. He simply did not personally benefit from the conduct, at all. Additionally,

Harry Skydell did not hire Madigan & Getzendanner and there was no evidence that

the firm received any payments related to the Board seat offenses conduct. The only

payments arguably received were based on The Resurrection Project purchasing

insurance through Andrew Madigan two years after Mike asked Solis to ask the CEO

of the organization to return Andrew’s call and perhaps give him a chance to show

what he could do. But critically, the evidence showed that The Resurrection Project

ultimately purchased insurance through Alliant based on a different person setting

up a breakfast between Andrew and the CEO, completely unrelated to Mike. On top

of this, the decision to purchase insurance through Alliant was made by the

organization’s CFO without even knowing anything about Solis or Mike, at all. She

did not even connect that Andrew Madigan was Mike’s son.

      Second, the evidence showed that the legislation at issue was beneficial for

Illinois consumers. (See, e.g., Tr. p. 661, ln. 12-16). And Mike’s staff always fought for

consumers. (See, e.g., Tr. p. 7850, ln 16-23). For Smart Grid, Mike recognized in 2010

that the ICC’s rate making process was antiquated and needed a face lift. (GX 401)




                                           20
Smart Grid ultimately provided consumers better service and stable rates while

ensuring ComEd did not receive the “blank check” they wanted. (Tr. p. 1346, 7826,

7850, 8215-16, DX 1022) On FEJA, ComEd did not get any of the things it wanted.

(DX 5061, TR. p. 683, 8259, 9561) The formula rate request in the FEJA bill came

from Ameren, not ComEd. (DX 7050, Tr. p. 1375) The government did not dispute

this point but instead argued that it did not matter for purposes of proving the

elements of the offense. The fact that the legislation was beneficial to consumers, and

that Mike’s staff was always in the room fighting for those consumers, not ComEd,

provides important context when comparing this case to others for sentencing

purposes.

      Third, in both the ComEd related conduct and the State Board related conduct,

Mike was trying to help others. The ComEd related offense conduct was based on

individuals asking for Mike’s recommendations and his providing them. For the State

Board related conduct, Mike was responding to a request for assistance from a long-

time Democrat. Solis repeatedly told Mike that he needed help for family reasons―his

daughter was getting married, his son was looking at colleges, he had four children

in total and four grandkids with whom he wanted to spend time. Given Mike’s

decades of helping anyone he could, he said he would try to help when the time came.

Mike learned that Solis had committed extensive crimes before he made any

recommendation. Mike never made the recommendation.




                                          21
      These mitigating factors set this case apart from any other bribery case.

Counsel submits that these factors weigh as mitigation when considering the nature

and circumstances of the offenses.

       C.     The Need to Reflect the Seriousness of the Offense and
              Provide Deterrence

      The defendant respectfully submits that a sentence of imprisonment would be

greater than necessary to protect the public or deter him from criminal conduct. Mike

does not pose a risk of committing new crimes. He will never hold public office again.

He has suffered continuous public embarrassment based on the charges. As one

example, Mike was publicly compared to a mob boss.5 Politicians also continue to use

Mike as a cheap political shot, without any regard for his history of good works and

positive impact on Illinois. Even more troubling to Mike, his grandchildren are teased

at school due to his public embarrassment. This intense public embarrassment for

Mike and his family, who he has always strived to support and protect, is a significant

punishment in and of itself. He will also live the rest of his years as a felon.

Accordingly, counsel respectfully suggests that a sentence involving a period of

probation, including a term of home detention, would be more than sufficient to

“protect the public from the defendant.” 18 U.S.C. § 3553(a)(2)(C). As the Supreme

Court recognized in Gall, a sentence of probation involves a “substantial restriction

of freedom.” Gall, 552 U.S. at 48, 128 S.Ct. 586.



5 Ray Long and Jason Meisner, Don Madigan? Ex-FBI agent likens former House speaker to

mafia boss in perjury trial of former Madigan aide, The Chicago Tribune, Aug. 15, 2023,
available at https://www.chicagotribune.com/2023/08/14/don-madigan-ex-fbi-agent-likens-
former-house-speaker-to-mafia-boss-in-perjury-trial-of-former-madigan-aide/.


                                          22
       The government will undoubtedly hammer one argument above all others—

that only a prison sentence can deter future corruption (18 U.S.C. § 3553(a)(2)(B)).6

But no criminal defendant in recent memory has endured the relentless, systematic

public demolition that this prosecution unleashed upon Mike Madigan. The media

feeding frenzy did not just report the case—it created a cultural narrative where

“Mike Madigan” became shorthand for corruption itself. These brutal collateral

consequences will define every remaining day of Mike Madigan’s life. Beyond any

sentence the government seeks, Mike faces the consequences already imposed—

spending his final years in quiet service to his ailing wife, forever marked by a public

humiliation so complete it has rewritten his legacy. The deterrent effect the

government seeks has already been achieved through the destruction of a man’s

reputation in the court of public opinion. Adding a lengthy term of probation and

significant community service, when combined with a period of home detention,

serves as a strong general deterrent, without imposing a punishment that is greater

than necessary given Mike’s specific situation.

        D.     The need to take into account the types of sentences available.

       The Court must also take into consideration “the kinds of sentences available”

under 18 U.S.C. § 3553(a)(3). There is no statutory minimum sentence, and Mike is



6 Academic studies conclude that more rigorous and frequent enforcement and prosecution of

financial crimes, rather than longer sentences, more effectively deters white-collar crime.
Richard S. Frase, Punishment Purposes, 58 Stan. L. Rev. 67, 80 (2005) (“White-collar and
regulatory offenders are more likely to be deterred, even by selective enforcement and modest
penalties; such offenders . . . have much to lose from being convicted, regardless of the
penalty.”); Peter J. Henning, Is Deterrence Relevant in Sentencing White Collar Criminals?
61 Wayne Rev. 27, 48-49 (2015).


                                             23
therefore eligible for an alternative sentence of probation with a period of home

detention. See, U.S.S.G. §5F1.2. HOME DETENTION.

      Within the Sentencing Guidelines and federal statutes, home detention is

permissible as a substitute for incarceration. United States v. Lopez-Pastrana, 889

F.3d 13 (1st Cir. 2018) citing 18 U.S.C. § 3583(e)(4) (stating that a court, when

including a term of supervised release after imprisonment, may “order the defendant

to remain at his place of residence during nonworking hours,” but such an order “may

be imposed only as an alternative to incarceration”); id. § 3563(b)(19) (stating that

home confinement during nonworking hours may be imposed as a condition of a

sentence of probation “only as an alternative to incarceration”); U.S.S.G. § 5C1.1(e)(3)

(stating, under the heading “Schedule of Substitute Punishments”: “[o]ne day of home

detention for one day of imprisonment”); U.S.S.G. § 5F1.2 (“Home detention may be

imposed as a condition of probation or supervised release, but only as a substitute for

imprisonment.”). “Put simply, home confinement is a ‘unique’ condition of release,

permissible only as a stand-in for imprisonment.” Id. (emphasis added). The

Sentencing Guidelines recognize that, because criminal behavior tends to decrease

with age, “in an appropriate case, the court may consider whether a form of

punishment other than imprisonment might be sufficient to meet the purposes of

sentencing.” U.S.S.G. § 5H1.1.

      “[A] district court may depart from an applicable guidelines range once it finds

that a defendant’s family ties and responsibilities or community ties are so unusual

that they may be characterized as extraordinary.” United States v. Canoy, 38 F.3d




                                          24
893, 906 (7th Cir. 1994); see also United States v. Reed, 859 F.3d 468, 473 (7th Cir.

2017) (discussing that extraordinary family circumstances can provide a legitimate

basis for a lighter or below-guideline sentence). “[I]f the situation is unusual and a

reasonable departure could solve the family’s problem, the court must consider

whether a departure is normatively proper and consistent with the purposes of

sentencing.” United States v. Manasrah, 347 F. Supp. 2d 634, 637 (E.D. Wis. 2004).

“If the nature of the offense and the character of the defendant indicate that a

guideline sentence will serve no purpose other than punishment, if the defendant is

not a threat to the community and if society will ultimately benefit if the defendant

is permitted to continue caring for her family, the court should grant a departure.”

Id. (citing United States v. Pena, 930 F.2d 1486, 1494 (10th Cir. 1991)).

       The key consideration for Mike is Shirley’s health. One day of imprisonment

for him will upend her entire life, including Mike’s constant care for her serious

respiratory, mobility, and other ailments. Mike presence is medically necessary to

provide the direct assistance, supervision, and emotional support required to

maintain Shirley’s well-being in a familiar home environment, which is paramount

for patients with Shirley’s conditions. (Exhibit L7) Mike and Shirley live in the same

three bedroom, three-and-a-half-bathroom home where they’ve lived since 1977. It is

a nice home, but not large or lavish. A sentence of probation with a condition of home




7 Exhibit L is a letter that includes sensitive details of Shirley’s medical condition. As such,

Defendant has filed it under seal.


                                              25
detention allows for a serious sentence that considers Mike’s unique circumstances,

which include his role as Shirley’s caretaker.

        E.     The need to avoid disparate sentences.

       Sentencing courts are also required to consider the need to avoid unwarranted

sentencing disparities between similar defendants convicted of similar crimes under

18 U.S.C. § 3553(a)(6). Mike is a statistically unique defendant, and counsel has not

found any comparable case involving an eighty-three-year-old public official-

defendant convicted of bribery and wire fraud that involved no personal benefit.

       However, U.S. Sentencing Commission data shows that the oldest offenders

are the most likely to receive an alternative sentence or fine. According to its 2022

report “Older Offenders in the Federal System,” the Commission found that roughly

31.3% of offenders 65-69, and 42.1% of offenders 70 and older received an alternative

sentence or a fine. National sentencing statistics show that in 2024, of the 362

defendants convicted of bribery/corruption were, 74% received a prison sentence but

26% received alternative sentences (7.5% received probation and alternatives and

18.5% received probation only).8 Moreover, in the cases where the bribery defendants

received a sentence of prison, the median sentence was only twelve months nationally

and sixteen months in the Seventh Circuit.9 Taking this data together—that 41.2%

of defendants roughly Mike’s age are not sent to prison, and 26% of all


8 U.S. Sentencing Commission, “Statistical Information Packet Fiscal Year 2024,” Table 4

(https://www.ussc.gov/sites/default/files/pdf/research-and-publications/federal-sentencing-
statistics/state-district-circuit/2024/7c24.pdf)
9 U.S. Sentencing Commission, “Statistical Information Packet Fiscal Year 2024,” Table 7

(https://www.ussc.gov/sites/default/files/pdf/research-and-publications/federal-sentencing-
statistics/state-district-circuit/2024/7c24.pdf)


                                             26
bribery/corruption defendants are not sent to prison—a non-custodial sentence would

not create an unwarranted sentencing disparity. On the other hand, a lengthy prison

sentence would create a significant disparity both in this Circuit and nationwide.

       Numerous other federal courts have imposed sentences significantly below the

advisory Guideline range in similar cases, particularly for first-time offenders. For

example:

   •   Ed Burke (former Chicago Alderman): 13 counts of racketeering, bribery and
       extortion.
           o Guidelines: 78 to 97 months.
           o Sentence: 24 months.
   •   Jesse L. Jackson Jr. (Former U.S. Rep.): Misused ~$750k in campaign funds.
       United States v. Jesse L. Jackson Jr., 13-cr-00058-ABJ (D.C.).
           o Guidelines: 46-57 months.
           o Sentence: 30 months.
   •   Michael G. Grimm (Former U.S. Rep.): Tax fraud (related to ~$900k
       unreported income). United States v. Michael G. Grimm., 14-cr-000248-PKC
       (E.D.N.Y.).
           o Guidelines: 24-30 months.
           o Sentence: 8 months.
   •   Christopher Collins (Former U.S. Rep.): Insider trading/false statements (loss
       in hundreds of thousands). United States v. Christopher Collins, 18-cr-00567-
       VSB (S.D.N.Y.).
           o Guidelines: 46-57 months.
           o Sentence: 26 months.
   •   Jerry Lundergan (Former KY Dem. Chair): Illegal campaign contributions
       (>$200k). United States v. Gerald G. Lundergan, 18-cr-00106-GFVT (E.D.
       Ky.).
           o Guidelines: 51-63 months.
           o Sentence: 21 months.


                                         27
      Mike is 83 years old. The Guidelines Manual specifically recognizes that “Age

may be a reason to depart downward in a case in which the defendant is elderly and

infirm and where a form of punishment such as home detention might be equally

efficient as and less costly than incarceration.” Age (Policy Statement), FCJ Federal

Sentencing Guidelines Manual § 5H1.1 (11/1/23). The Guidelines Manual also sets

forth sentencing options, including home detention, as a substitute for imprisonment.

Home Detention, FCJ Federal Sentencing Guidelines Manual § 5F1.2 (11/1/23).

      The Seventh Circuit has called upon district court judges to consider the cost

that the government incurs in incarcerating older individuals like Mike. United

States v. Presley, 790 F.3d 699, 702 (7th Cir. 2015). Prisoners at least fifty years old

cost the federal prison system about eight percent (8%) more than younger prisoners,

and those costs only rise with age. Id. (citing Office of the Inspector General, U.S.

Dept. of Justice, The Impact of an Aging Inmate Population on the Federal Bureau

of Prisons, May 2015 (https://oig.justice.gov/reports/2015/e1505)). Indeed, since the

pandemic and the passage of the First Step Act, the Bureau of Prisons has

increasingly exercised its authority to compassionately release aging and physically

vulnerable federal prisoners.

      Finally, recidivism rates consistently decline as age increases. See, U.S. Sent’g

Comm’n, The Effects of Aging on Recidivism Among Federal Offenders, p. 3, 22-23

(Dec. 2017). Recidivism rates are strongly correlated to age and the guidelines’ ranges

do not account for this fact, despite the importance of age in calculating recidivism.

United States v. Carter, 538 F.3d 784, 791-92 (7th Cir. 2008).




                                          28
 III.    TREATMENT OF A PERJURY ENHANCEMENT

         A.    Mike’s testimony was truthful.

        Mike testified in his own defense. “Standing alone, the fact that a defendant

denied [his] guilt at trial and then was found guilty is not enough to merit a § 3C1.1

enhancement.” United States v. Ellis, 548 F.3d 539, 545 (2008) citing United States

v. Webster, 125 F.3d 1024, 1037 (7th Cir.1997). “To properly support an enhancement

for obstruction of justice, the district court must make independent findings as to all

of the elements of perjury: falsity, willfulness, and materiality.” Id. Application Note

6 defines “material” to mean “evidence, fact, statement, or information that, if

believed would tend to influence or affect the issue under determination.” Even if

material, a misstatement or omission must also be “willful.” Application Note 2

specifically states that § 3C1.1 “is not intended to punish a defendant for the exercise

of a constitutional right.” The government “…bears the burden of proving a § 3C1.1

adjustment is warranted by a preponderance of the evidence.” United States v.

Burgess, 22 F.4th 630 (7th Cir. 2022).

        The government has asserted that certain areas of Mike’s testimony support a

perjury enhancement. However, the government repeatedly makes broad claims that

Mike attempted to “mislead and confuse” the jury without providing any evidence

that the statement, if a statement is even identified, is demonstrably false and

material. The government also suggests that supporting a false impression is enough

to require a perjury enhancement―it does not. The government must be able to




                                          29
demonstrate―through evidence, not spin and speculation―that Mike lied when he

made a specific statement that was material to the case. It cannot do so.

      Based on the government’s previous positions, it appears the government takes

issue with nine areas of Mike’s testimony related to the ComEd counts and one area

of his testimony related to the state board appointment conduct. These areas are: (1)

Mike’s denial of agreeing to exchange jobs at ComEd for official action favorable to

ComEd; (2) Mike’s denial that Mike McClain ever said anything to him about people

Mike recommended doing little or no work; (3) Mike’s knowledge of Ray Nice’s work

related to his state board position while he did not know whether Nice performed

work for Jay Doherty; (4) Mike’s denial of “control” of payments made by ComEd to

Ed Moody; (5) Mike “said nothing in his direct” about the fact that he, at times,

recommended people for jobs because they would help with campaign work; (6) Mike’s

denial that he expected a “hard and favorable response” from ComEd; (7) Mike’s

testimony that McClain only helped him with “some” problems but not all; (8) Mike’s

testimony that he did not have a conversation about ComEd with Ed Moody in 2018;

(9) Mike’s testimony that he not tell Will Cousineau to find members to vote “yes” for

the FEJA bill in 2016; and (10) Mike’s testimony that he had not decided for certain

that he would recommend Solis for a Board position.

          1. Mike’s denial of agreeing to trade official action favorable to ComEd for
             private gain.

      There is no evidence that contradicted Mike’s testimony that he did not trade

his public office for private gain. The government argues that the jury’s verdict on

Counts 2, 4, 5, and 6 contradicts this testimony but, the instructions given to the jury



                                          30
permit conviction if the “thing of value” was given to a third party, not Mike.

Additionally, the government repeatedly argued that Mike did not need to agree to

take an official action in exchange for the jobs at issue. Instead, the government’s

position was that the jury could convict if Mike knew that a member of the conspiracy

was attempting to influence him. The government argues that John Hooker’s stray

comment about “getting a leg up” establishes Mike’s testimony that he never agreed

to exchange jobs at ComEd for an official action favorable to ComEd was false. (GX

294). This statement (not made in Mike’s presence) is vague at best, offering no

indication that Madigan took, or agreed to take, any “official action” to assist ComEd.

Instead, the evidence showed that Mike was ComEd’s principal antagonist in

negotiating EIMA and FEJA. See, Madigan’s Post-Trial Motions, Dkt. 401, p. 22-26.

          2. Mike’s denial that Mike McClain ever said anything to him about
             people Mike recommended doing little or no work.

      The government argues that Exhibit 156, a recording between Mike and Mr.

McClain, shows that Mike’s testimony that Mr. McClain never told him that someone

he recommended was not doing work was false. But the government knows very well

that Dennis Gannon, the subject of the call was not recommended by Madigan.

During the call, McClain described that Mr. Gannon, a labor consultant for ComEd,

was asked to drive around a contract to get it signed. When Madigan asked how

Gannon got involved (because he did not even know Gannon was employed by

ComEd), McClain explained that “we [ComEd]” gave him a contract for $150,000. (GX

156). In response, Madigan stated that some consultants, like Gannon, were making

out like “bandits.” Id.



                                          31
      Three different witnesses confirmed that Mike had no involvement in the

hiring of Gannon. Tom O’Neill knew Gannon and recommended that he be hired.

Fidel Marquez was supposed to supervise Gannon. And, the government interviewed

Gannon himself. All three confirmed that his hiring by ComEd had nothing to do with

Madigan. Still, the government claims, in the face of crystal-clear evidence to the

contrary, that this call shows Mike’s testimony was not truthful. The evidence at trial

showed the government was wrong. Mike testified truthfully that he was never told

that the people he recommended were doing little or no work for ComEd.

          3. Mike’s knowledge of Ray Nice’s work related to his state board position
             while he did not know whether Nice performed work for Jay Doherty.

      Mike truthfully testified that he did not know whether Ray Nice was doing

work for Jay Doherty. Mike also truthfully testified that he talked to Mr. Nice about

his work for the State board. There is no evidence to the contrary. These statements

do not contradict each other. In fact, it is logical that Mike, an elected state official,

would be interested in Mr. Nice’s State board work. On the other hand, Mike would

not be interested in any work that Mr. Nice was doing for ComEd related to the City

of Chicago or Cook County. Finally, even if false (which it is not), this statement is

not material to the charges.

          4. Mike’s denial of control of payments made by ComEd to Ed Moody.

      Mike’s testimony that he was providing Mr. McClain advice on whether

ComEd should continue to engage Ed Moody as a lobbyist after news reports came

out that Madigan and Moody were “associated” and that Moody had been named to a

high-level county wide position (without Madigan’s involvement) is consistent with



                                           32
the evidence presented at trial. As Mike testified, Mr. Moody was elected Cook

County Recorder of Deeds, which was a senior-level, full-time elected executive

position. Prior to this time, Mr. Moody was an employee in county government and a

Cook County Commissioner. Mike explained that both of these positions were not as

time intensive as the county wide elected position. This was the basis of his response

to a question from Mr. McClain’s counsel, and there is nothing in the record that

contradicts this testimony.

          5. Mike “said nothing during his direct testimony” about the fact that he,
             at times, recommended people for jobs because they would help with
             campaign work.

      The government argues that Mike committed perjury because he “said nothing

during his direct testimony about the fact that he had other motives in finding work

for people, namely, that in return for finding them employment, Madigan expected

certain of those individuals to do political work for Madigan.” This is not perjury.

Mike never denied that he had historically participated in the patronage system. The

government’s support for this argument is an oral history interview about Mayor

Richard J. Daley that was filmed in 2009 discussing Madigan’s involvement in the

patronage system back in the 1970’s, 50 years earlier. In addition to Mike not actually

making any false statement on this issue, any conduct by Mike from 50 years before

the charges in this case were brought could not be considered material.

          6. Mike’s denial that he expected a “hard and quick favorable response”
             from ComEd.

      There is no evidence that Mike “expected a hard and quick favorable response

to job requests made to ComEd.” The government’s argument to the contrary relies



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on two points: (1) that Mike was concerned that he could not rely on what Mr.

Marquez said about a PLA moving forward to be true (GX108); and (2) that Mr.

McClain and Mr. Hooker said that Mike said (a game of telephone) that talking to

Marquez was “like putting something in a dark hole” (GX62). Neither of these points

support the argument that Mike lied when he said that he never expected a “hard

and quick favorable response” from Mr. Marquez on job recommendations. Instead,

at most, these recordings show that Mike did not think Mr. Marquez was very reliable

to do what Marquez said he would do. Moreover, the evidence demonstrated that

more than half of Madigan’s recommendations did not result in jobs at ComEd.

Madigan did not always demand or expect a positive response.

          7. Mike’s testimony that McClain only helped him with “some” projects but
             not all.

      The government also argues, without support, that Mike “lied repeatedly

during his testimony when he attempted to minimize his relationship with McClain.”

Even if Mike’s testimony “minimized his relationship” with Mr. McClain, which he

did not, this is not perjury. Mike’s testimony simply presented the fact that he was

not the same person as Mr. McClain and he had a large number of people, staff and

other lobbyists, that helped him over the years. While the government may believe

that Mike only spoke to Mr. McClain and no one else for the 50 years he was Speaker

of the Illinois House of Representatives, this is not supported by the evidence. Mike’s

testimony regarding the limitations on the scope of his relationship with Mr. McClain

are not false statements. Mike repeatedly recognized, on direct and cross

examination, that he relied on Mr. McClain at times. (Tr. p. 8709, 8731, 8734, 8827,



                                          34
8834, 8839, 9116, 9125) His testimony was simply that he did not rely exclusively on

Mr. McClain. There is no evidence that contradicts Mike’s testimony. In fact, the

government even presented recordings of Mike consulting with staff members. And,

the defense presented the testimony of former staffers who shared that Mike sought

and relied on their advice. This testimony was corroborated by numerous other

exhibits.

            8. Mike’s testimony that he did not have a conversation about ComEd with
               Ed Moody in 2018.

      Mike testified truthfully that he never had a conversation with Ed Moody

about the fact that Mr. Moody was not doing work for ComEd. The only evidence the

government cites to support its argument on this point is the testimony of Mr. Moody

himself. Mr. Moody’s testimony was not corroborated by any documents or other

witnesses. Joe Lullo, a government witness, testified that Ed Moody, and his twin

brother Fred Moody, had a reputation for not telling the truth. (Tr. p. 2291). There

was no testimony that Madigan was not known to be a truthful person. To the

contrary, the letters summarized in Exhibit J show Mike is well-known as an honest

person.

      Mr. Moody’s story is not credible. Mr. Moody testified that he just happened to

be walking across the street from Mike’s house when Madigan parked his car outside

his house and walked over to talk to him. (Tr. p. 4487) But Mike does not have a full

driveway. (DX 5064, Tr. p. 8325) Madigan’s garage is attached to his home. (DX 5064,

Tr. p. 8681) Mike’s regular practice when he comes home is to back the car into that

attached garage and close the garage door before he enters his home through the



                                          35
interior door in the garage. (Tr. p. 8681) Mike would not have parked his car in the

driveway, blocking the sidewalk. Additionally, Mr. Moody testified that he was

campaigning in a district that only includes the area across the street and diagonally

away from the Madigan home. (Tr. p. 8329-30) From that area, Mr. Moody could not

have even seen Mike’s garage doors. (Tr. p. 8360) Finally, Mr. Moody had no record

of being in the area campaigning at the time. (Tr. p. 4485) There is simply nothing to

corroborate Mr. Moody’s testimony, for which he received complete immunity from

the government.

          9. Mike’s testimony that he did not have a conversation with Will
             Cousineau about finding votes for the FEJA bill in 2016.

      Mike did not lie when he testified that he did not direct Will Cousineau to get

votes for FEJA. The government relies on Cousineau’s testimony, a later email where

Mr. McClain is trying to get Mr. Cousineau a job with ComEd, and a call a year later

where Mr. McClain and Mr. Hooker are bragging about their value (even though their

statements were proven to be false). Cousineau, after being immunized for his role in

paying Kevin Quinn (something that Mike had no part in), offered his vague and

grossly incomplete recollection that he had a phone call with Mike and Mr. McClain

about a roll call and need to round up additional votes. In fact, Cousineau’s testimony

was so hazy that the Court struck a portion of his testimony that Mr. McClain was in

the room for this phone call after determining that he did not have a sufficient

foundation to support it. (Tr. p. 1649) Cousineau admitted that he didn’t “have a

specific recollection” of why or how he knew that Mr. McClain was in the room.




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Instead, he continuously stated that he was trying to be consistent with his grand

jury statement. But he was not able to recall any details at all about this call.

      Cousineau’s testimony was directly contradicted by defense witness Craig

Willert and contemporaneous documents he produced pursuant to a defense

subpoena. Willert testified that Madigan pulled enough Democrats off the bill such

that Exelon did not meet its goal of a three-fifth’s majority. (Tr. p. 8392-8408). In

other words, people were encouraged, at Madigan’s suggestion, to vote “no” ―the

exact oppositive of what Cousineau testified. Willert, who was set to inherit

Cousineau’s position and acted as Cousineau’s floor leader at that time, affirmatively

testified that there was no such roll call and no effort to round up “yes” votes. (Tr. p.

8392, 8407-08). Willert made clear that had such an instruction been given, he would

have been aware of it. (Tr. p. 8393, ln. 2-6). It did not happen. Willert rought forth

the contemporaneous emails and text messages that established that Cousineau was

dead wrong. (Tr. p. 8392-8408). As the testimony (and records) demonstrated,

Madigan’s staff encouraged at least nine separate members to vote “no” to protect

them politically, thus denying Exelon its “goal” of having a bill with immediate effect.

The floor debates, the vote record, Willert’s testimony, and the contemporaneous

records also contradicted Mr. McClain’s random statement to Mr. Hooker that

Madigan “put 47 votes on” FEJA two years earlier. Obviously, there was no

opportunity to cross-examine this statement from McClain. Most importantly, the full

record shows it is just plain false. There were not even 47 Democratic votes in favor




                                           37
of the bill and not one legislator testified that Madigan sought to influence their vote

on FEJA. Madigan himself did not even vote for FEJA.

          10. Mike’s testimony that he had not decided for certain that he would
              recommend Solis for a Board position.

      Mike did not lie when he testified that he had not decided whether to

recommend Solis for a State board position. The government recognized in its closing

that Mike never recommended Mr. Solis for a Board position. (Tr. 10276, 10277) The

fact that Mike told Mr. Solis what would happen if Mike recommended him for a State

board position does not mean that Mike had made a decision to do so. In fact, the

government mischaracterizes GX 151 in an attempt to support its argument. The

government selectively quotes from that recording that Mike “further told Solis that

Madigan would ‘go to Pritzker’ to recommend Solis, and that ‘you’d come in as

Pritzker’s recommendation.’” But, looking at the full context, this statement from

Mike was prompted by Mr. Solis and was simply a hypothetical of what would happen

if Mike eventually made the decision to recommend Mr. Solis:




      The government also cites GX 197 as support for this argument because Mike

said, “When I sit down with Pritzker, that’s, I’ll tell him here it is, this is what we

want to do.” What the government neglects to mention is that, at this point, Mr. Solis


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told Mike that he was going to run for re-election as Alderman so any decision on

whether to recommend Mr. Solis was at least two years away. See GX 197 (Solis: “I’m

gonna run again” “And stay two years.”). Finally, the government asserts that Mike’s

statement of “just leave it in my hands” must mean that Mike intended to recommend

Mr. Solis. But no evidence at trial contradicted Mike’s testimony that his intent from

this statement was that he was contemplating recommending Mr. Solis but would

make a final decision when it came time to either make the recommendation or not.

There was no evidence that Mike ever committed to recommending Solis for the Board

seat. He simply said that he put a note in his file for recommendations and would

decide whether to make the recommendation later. Over the course of several months

(and prior to January 2019), Mike submitted approximately 10 lists of Board

recommendations (ultimately comprising nearly one hundred different individuals

from both political parties) and met with Governor-elect Pritzker and his staff

numerous times about those recommendations. Importantly, less than half of those

recommended by Madigan received positions. Mike never recommended Solis.

       B.     Treatment of a perjury enhancement for purposes of 3553(a).

      If the Court determines a perjury enhancement is appropriate (which it should

not), the Defendant has found no case law that requires the Court to treat such

enhancement as an aggravating factor for purposes of 3553(a). A critical

consideration in this case is that Mike testified based on his memory and his intent.

There was no evidence that showed he willfully provided false, material testimony.

Instead, he took the stand in his own defense to provide his account of what occurred.




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He should not receive a heightened sentence for availing himself of his constitutional

right to testify in his own defense simply because the jury found him guilty on some

counts. United States v. Ellis, 548 F.3d 539, 545 (2008).

 IV.   GUIDELINES CALCULATION

       With the exception of the obstruction enhancement, the Probation Officer

agreed with the government’s calculation of the advisory guidelines. In identifying

Madigan’s objections to the PSR and in the hope that this assists the Court’s review,

defense counsel has included below both the government’s position as well as the

defendant’s position such that the Court can see both in one filing.

   A. ComEd Related Conduct

          1. Count 2 (18 U.S.C. § 371)

      Pursuant to Guideline § 1Bl.2(d), because the defendant was convicted of a
conspiracy to commit more than one offense, the defendant is treated as if the
defendant had been convicted on a separate count of conspiracy for each offense that
he conspired to commit.

       The Defendant agrees.

              a) Section 666 Objects.

       The government asserts that the anticipated offense level for the Section 666
objects as to Count 2 is 50.

      Based on Defendant’s calculation, the anticipated offense level for the
Section 666 objects of Count 2 as 16.

                 1) Pursuant to Guideline § 2X1.1, the base offense level for the
                    underlying offense (18 U.S.C. § 666(a)(1)(B), 18 U.S.C. §
                    666(a)(2)) applies plus any adjustments for any intended offense
                    conduct that can be established with reasonable certainty.

                    Defendant agrees.




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2) Pursuant to Guideline § 2C1.1(a)(1), the base offense level is 14.

   Defendant agrees.

3) Pursuant to Guideline § 2C1.1(b)(1), a 2-level increase is
   appropriate because the offense involved more than one bribe.

   Defendant objects to this increase. The government
   argued that the conduct at issue was a “stream of
   benefits” that ComEd provided Mike over the relevant
   time period in exchange for acting favorably on ComEd
   legislation. Based on this argument, there was only one
   alleged bribe that was an ongoing “stream of benefits”,
   and this increase does not apply to this case.

4) Pursuant to Guideline § 2C1.1(b)(2) and § 2B1.1(b)(1)(N), a 26-
   level increase is appropriate, because the value of the benefit
   received or to be received in return for the payments exceeded
   $150,000,000.

   Defendant objects to this increase. The $150 million
   estimate by the government is speculative with no
   reliable support in the record. Because the government
   has provided no reliable evidence to support its guess as
   to the benefit received by ComEd, the court should look
   to the benefit received by the public official, here Mike.
   As discussed, Mike received no personal benefit. Because
   of this, there is no increase pursuant to Guideline §
   2C1.1(b)(2) and § 2B1.1(b)(1)(N).

   Courts may accept reasonable benefit estimates based on
   information available in the record. United States v.
   Anderson, 517 F.3d 953, 963 (7th Cir. 2008), citing United
   States v. Schaeffer, 291 F.3d 932, 939 (7th Cir. 2002).
   “Permitting ‘reasonable estimates,’ however, does not
   mean accepting any number put forth.” United States v.
   Buncich, 20 F.4th 1167, 1177 (7th Cir. 2021). Additionally,
   under § 2C1.1(b)(2), the relevant “benefit received”
   calculation reflects the benefit’s net value, not its gross
   value. United States v. Sapoznik, 161 F.3d 1117, 1119 (7th
   Cir. 1998). The “value of the benefit to be received” may
   be overly speculative. United States v. Muhammad, 120
   F.3d 688, 700 (7th Cir. 1997).




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The government’s benefit calculation is based on three
things: (1) ComEd executive Scott Vogt’s testimony; (2) a
slide from an internal ComEd document that was not
admitted at trial; and (3) the ComEd Deferred
Prosecution Agreement (“DPA”).

Mr. Vogt’s testimony is uncertain, unproven, and logically
disconnected. At trial, in response to the government’s
question, “about how much additional shareholder value
did you project would be gained by extending the formula
rate from 2018 to 2022?” Vogt testified, “[a]round $400
million.” Tr. 614. When asked, “[d]id you ever do any after-
the-fact analysis of the formula rate to see if that $400
million was spot on?” Vogt replied, “[n]ever really did.”
Tr. 615. The government asked whether the estimate
might be too high or too low, Vogt said, “…probably too
high.” Id. The government, seeking clarification, asked,
“[s]o let me try to translate that a bit. It sounds like some
of the assumptions baked in ended up not shaking out
quite the way you had anticipated?” Vogt agreed. Tr. 616.
Moreover, in combination with repeated qualification,
Vogt testified that the analysis arriving at the $400
million figure was performed in 2014. Tr. 615. Ultimately,
the only concrete statement made in connection to the
$400 million estimate came in response to the
government’s question, “[s]o even if that $400 million
estimate is a little bit too high based on all those factors,
what effect did the formula rate legislation have on
shareholder value for ComEd?” Vogt replied, “it was still
beneficial and increased shareholder value.” Tr. 616. Mr.
Vogt’s testimony provided only high-level figures. In
other words, the only thing that Scott Vogt could reliably
say was that the legislation at issue increased
shareholder value by some indeterminate amount.

The government also points to a slide from an internal
ComEd document that broadly states “shareholder value”
of the legislation “is estimated to be worth roughly $400
million.” (NBG00040979 at p.34). This calculation of
shareholder gain is unreliable for several reasons. First,
as Mr. Vogt testified, the analysis was performed before
the legislation passed and was never reviewed after that
time for actual impact. Second, the estimate was based on
gross figures—projecting the company’s share price
appreciation or market capitalization growth—without


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any evidence of the net benefit resulting from the alleged
misconduct. The government does not even attempt to
draw a distinction between the legislation’s gross and net
values to ComEd. The government’s calculation of the
purported benefit to shareholders suffers from the same
flaw courts have recognized when the government relies
on gross figures without accounting for net values — it
overstates the true economic impact by ignoring
necessary offsets, costs, or losses. Just as gross revenue,
standing alone, says nothing about net profit, the
government’s calculation of gross shareholder gains says
nothing about the true economic benefit attributable to
the alleged misconduct. Both approaches improperly
invite the Court to assume, without evidence, that all
upward movement reflects unlawful gain, ignoring the
real-world complexity of costs, offsets, and independent
drivers of value.

The DPA also provides no support for the government’s
argument because it is simply a document that was
negotiated between the government and ComEd. It does
not cite to any data to support the broad statement that
the legislation “exceeded $150,000,000.” The government
points to several different numbers and argues that the
benefit must be at least $150 million. There is no reliable
evidence that supports this assertion. For these reasons,
the government’s benefit calculation is impermissibly
speculative.

When courts are unable to accurately calculate the
expected benefit, they must resort to sounder, more
concrete methods for arriving at a benefit figure. United
States v. Roussel, 705 F.3d 184, 201 (5th Cir. 2013)
(distinguishing between calculation driven by arbitrary
benchmark and calculation based upon “known amounts
of profits from various land deals… which the district
court could concretely base its calculation.”). That figure
is typically the personal benefit that the public official
received. Here, Mike received no personal benefit and, as
such, no increase is warranted.




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5) Pursuant to Guideline § 2C1.1(b)(3), a 4-level increase is
   appropriate because the offense involved an elected public
   official.

   Defendant agrees.

6) Pursuant to Guideline § 3B1.1(c), a 2-level increase is
   appropriate because the defendant was an organizer or leader of
   a criminal activity.

   Defendant objects to this increase. There is no evidence
   that Mike was the organizer or leader of the ComEd
   conspiracy. Instead, the evidence presented showed
   conversations between ComEd employees and external
   lobbyists. There were no discussions with Mike that
   established he organized or led the activity or controlled
   any alleged member of the conspiracy. See, e.g., United
   States v. McGee, 985 F.3d 559, 564 n.5 (7th Cir. 2021) (“[A]
   defendant must exercise control over ‘one or more other
   participants,’ to be subject to an enhancement under §
   3B1.1.” (citation omitted)). In fact, the government argued
   extensively at trial that a call between Mr. McClain and
   John Hooker established proof of a criminal conspiracy.
   (GX 267) In this call, Mr. McClain and Mr. Hooker claimed
   credit for being the organizers and leaders of the
   conspiracy multiple times. (Id. Hooker: “We came up with
   this plan.” McClain: “you and I came up with it.” “They
   didn't come up with the idea. You and I came up with it”).

   The government asserts that Mike “controlled” the
   payments to various subcontractors but there is no
   evidence that he alone decided when someone was hired,
   fired or otherwise controlled them. Mike made job
   recommendations and Mr. McClain consulted with him
   on whether Mr. Moody should continue after getting a
   senior-level, full time position as a countywide elected
   official. These two points do not establish “control” over
   the employment of the people hired by ComEd based on
   Mike’s recommendation.

7) Pursuant to Guideline § 3C1.1, a 2-level increase is appropriate
   because the defendant willfully attempted to obstruct or impede
   the administration of justice with respect to the prosecution by
   committing perjury at trial.




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                    Defendant disputes this increase. As discussed above,
                    Mike did not willfully attempt to obstruct or impede the
                    administration of justice with respect to the prosecution
                    because he did not commit perjury at trial.

                8) Defendant objects to Probation’s conclusion that a 2-level
                   decrease is not appropriate pursuant Guideline § 4C1.1
                   because the defendant meets all criteria for an
                   adjustment for certain zero-point offenders, as noted
                   herein.

             b) FCPA Objects.

       Based on the facts now known to the government, the anticipated offense level
for the FCPA objects as to Count 2 is 37.

    Based on Defendant’s calculation, the anticipated offense level for the
FCPA objects as to Count 2 is 5.

                1) Pursuant to Guideline § 2X1.1, the base offense level for the
                   underlying offense (15 U.S.C. §§ 78m(b)(5) and 78ff(a)) applies
                   plus any adjustments for any intended offense conduct that can
                   be established with reasonable certainty.

                    Defendant agrees.

                2) Pursuant to Guideline § 2B1.1(a), the base offense level is 7.

                    Defendant agrees.

                3) Pursuant to Guideline § 2B1.1(b)(1)(N), a 26- level increase is
                   appropriate because the actual loss and actual gain from the
                   offense exceeded $150,000,000.

                    As discussed above, Defendant objects to this increase.

                4) Pursuant to Guideline § 2B1.1(b)(10), a 2- level increase is
                   appropriate because the offense involved sophisticated means
                   and the defendant intentionally engaged in or caused the
                   conduct constituting sophisticated means.

                    Defendant objects to this increase. It was undisputed at
                    trial that Mike had no role in, or knowledge of, the
                    internal ComEd recordkeeping or Code of Conduct.




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                    Because of this, he could not have intentionally engaged
                    in or caused conduct constituting sophisticated means.

                    Additionally, even the conduct of the ComEd individuals
                    was not “especially complex or especially intricate.”
                    U.S.S.G.   §   2B1.1(b)(10)(C),  cmt.   9(B)  (defining
                    “sophisticated means” as “especially complex or
                    especially intricate offense conduct pertaining to the
                    execution or concealment of an offense”).

                    Finally, multiple witnesses testified that the invoices,
                    contracts and other documents at issue were routine
                    documents used by ComEd and Jay D. Doherty and
                    Associates. Thus, sophisticated means were not used to
                    carry out the conspiracy, even beyond Mike’s knowledge
                    and involvement.

                 5) Pursuant to Guideline § 3B1.1(c), a 2-level increase is
                    appropriate because the defendant was an organizer or leader of
                    a criminal activity.

                    Defendant objects to this increase. As discussed above,
                    Mike was not an organizer or leader of a criminal activity.

                 6) Defendant objects to Probation’s conclusion that a 2-level
                    decrease is not appropriate pursuant Guideline § 4C1.1
                    because the defendant meets all criteria for an
                    adjustment for certain zero-point offenders, as noted
                    herein.

          2. Counts 4 and 6 (18 U.S.C. § 666) and 5 (18 U.S.C. § 1952).

      The offense level calculations for these substantive counts of conviction are the
same as those discussed above with respect to the § 666 Objects as to Count 2. See
U.S.S.G. § 2E1.2(a)(2).

      Defendant agrees.

          3. Grouping.

      Pursuant to Guidelines §§ 3D1.2(b), (c), and (d), Counts 2, 4, 5, and 6 are
grouped together. The combined offense level for the ComEd Group is 50, pursuant
to Guideline § 3D1.3.




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     Defendant agrees that Counts 2, 4, 5, and 6 are grouped together.
Based on the arguments above, the combined offense level for the ComEd
group is 16.

   B. State Board Appointment Related Conduct

       Based on the facts now known to the government, the anticipated offense level
for the State Board offenses of conviction (Counts 8, 9, 10, 12, 13, and 14, or the “State
Board Group”) is 32, as discussed below.

     Defendant states that the anticipated offense level for the State Board
Group is 16.

          1. Counts 8, 9, 10 (18 U.S.C. §§ 1343 & 1346)

              1) Pursuant to Guideline § 2C1.1(a)(1), the base offense level is 14.

                  Defendant agrees.

              2) Pursuant to Guideline § 2C1.1(b)(2) and § 2B1.1(b)(1)(G), a 12-level
                 increase is appropriate, because the value of the benefit received or
                 to be received in return for the payments exceeded $250,000,
                 because the lower paid of the two Boards Solis proposed (the Labor
                 board) had a salary of $93,926 per year and a term of four years.

                  Defendant objects to this increase. Mike never
                  recommended Mr. Solis for the Labor board position.
                  Additionally, the government chose the State board
                  positions that Mr. Solis suggested to Mike for the purposes
                  of these counts; as a result, the government cannot satisfy
                  the Guidelines’ causation requirement between the alleged
                  conduct and the unrealized benefit. Again, Mike received no
                  private benefit as the result of any conduct related to the
                  State Board Group charges.

              3) Pursuant to Guideline § 2C1.1(b)(3), a 4-level increase is
                 appropriate because the offense involved an elected public official.

                  Defendant agrees.

              4) Pursuant to Guideline § 3C1.1, a 2-level increase is appropriate
                 because the defendant willfully attempted to obstruct or impede the
                 administration of justice with respect to the prosecution by
                 committing perjury at trial.



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                 Defendant disputes this increase. As discussed above, Mike
                 did not willfully attempt to obstruct or impede the
                 administration of justice with respect to the prosecution
                 because he did not commit perjury at trial.

              5) Defendant objects to Probation’s conclusion that a 2-level
                 decrease is not appropriate pursuant Guideline § 4C1.1
                 because the defendant meets all criteria for an adjustment
                 for certain zero-point offenders, as noted herein.

          2. Counts 12, 13, and 14 (18 U.S.C. § 1952)

      The offense level for these substantive counts of conviction is the same as those
discussed above with respect to Counts 8, 9, and 10. See U.S.S.G. § 2E1.2(a)(2).

      Defendant agrees.

          3. Grouping.

      Pursuant to Guidelines §§ 3D1.2(a) and (b), Counts 8, 9, 10, 12, 13, and 14 are
grouped together.

      Defendant agrees that Counts 8, 9, 10, 12, 13, and 14 are grouped
together. Based on the arguments above, the combined offense level for the
State Board group is 16.

Grouping and Total Adjusted Offense Level

       Pursuant to Guidelines §§ 3D1.3 and 3D1.4, the ComEd Group and the State
Board Group are not grouped, but there is no increase to the total offense level
because the offense level for the State Board Group is 9 or more levels lower than the
offense level for the ComEd Group. The total adjusted offense level is therefore 50.

      Defendant agrees that the ComEd Group and the State Board Group
are not grouped. Because the ComEd Group and the State Board Group each
have an offense level of 16, the total adjusted offense level pursuant to
Guideline § 3D1.4 is 18.

Anticipated Advisory Sentencing Guidelines Range

       Based on the facts now known to the government, the anticipated offense level
is 43. When combined with the anticipated criminal history category of I, the
anticipated advisory guidelines range is life in prison, in addition to any supervised
release, fine and restitution the Court may impose. Pursuant to Guidelines §§ 5G1.1
and 5G1.2, as well as the application notes thereto, because the statutorily authorized


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maximum sentence of the offenses of conviction is less than the total punishment of
life, a consecutive sentence should be imposed to produce a combined sentence
equivalent to the total punishment. See United States v. Thompson, 523 F.3d 806,
814 (7th Cir. 2008) (affirming imposition of consecutive maximum sentence totaling
190 years where guidelines called for sentence of life in prison).

      Defendant respectfully submits that the offense level is 18. When
combined with the anticipated criminal history category of I, the advisory
guidelines range is 27 to 33 months, in addition to any supervised release
and fine the Court may impose.

 V.    APPLICABLE FINES

      The Court asked the parties to address their positions on: (1) the statutory

maximum fine for each count (and whether such calculation is governed by 18 U.S.C.

§ 3571(b)(2) or (b)(3)); (2) The statutory maximum total potential fine; (3) The

guideline range for a fine for each count; and (4) The total fine maximum under the

guidelines (for all counts of conviction). Defendant’s position on these points is set

forth below.

       A.      Statutory Maximum Fine for Each Count

      Counts 2, 4-6, 8-10, 12-14: The maximum fine is $250,000 per count. 18 U.S.C.

§ 3571(b). 18 U.S.C. § 3571(b)(2) governs the statutory maximum fine calculation in

this case because the government has not proven any pecuniary gain or loss as

required to apply a fine under § 3571(b)(3) and § 3571(d).

       B.      Statutory Maximum Total Potential Fine

      The statutory maximum total potential fine is $2,500,000. 18 U.S.C. § 3571(b).

       C.      Guideline Range Fine for Each Count

      Counts 2, 4, 5, and 6 are grouped together. Based on the arguments above, the

combined offense level for the ComEd group is 16 and the Guideline maximum fine



                                         49
is $95,000.

         Counts 8, 9, 10, 12, 13, and 14 are grouped together. Based on the arguments

above, the combined offense level for the State Board group is 16 and the Guideline

maximum fine is $95,000.

          D.    Guideline Total Maximum Fine

         As the offense level is 18, the Guideline total maximum fine is $100,000.

U.S.S.G. §5E1.2(c)(3).

 VI.      CORRECTIONS TO THE PRESENTENCE INVESTIGATION
          REPORT

         Paragraph 98 provides an incorrect address for where the defendant and Mrs.

Madigan live.

 VII.     SUPERVISED RELEASE

         Defendant has reviewed Probation’s recommendations of conditions of

supervised release with his undersigned counsel and has no objections except one.

Defendant would request that the area allowed for travel include Wisconsin such

that, as the needs arises, Madigan can travel to their home in Wisconsin.

 VIII. CONCLUSION

        Mike Madigan is a good man who has selflessly done an exceptional amount of

good for others. He is widely respected for his dedication to honesty and integrity.

Considering the whole of his life, and the need to care for his ailing wife, counsel

respectfully submits that a sentence of five years’ probation (with a condition of one

year home detention), an order to perform community service, and reasonable fine is

a sufficient, but not greater than necessary punishment.



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Dated: May 30, 2025

Respectfully submitted,


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